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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                      SECOND AMENDED GENERAL ORDER 20-0012

                                         March 30, 2020

                IN RE: CORONAVIRUS COVID-19 PUBLIC EMERGENCY

       Given the public health emergency arising from the COVID-19 pandemic, and consistent

with guidance and orders from federal executive authorities, the State of Illinois, and local

governments, it is hereby ORDERED:

       Amended General Order 20-0012, entered on March 17, 2020, and General Order 20-

0014, entered on March 20, 2020, are vacated and superseded by this Second Amended

General Order 20-0012. To protect the public health and welfare, the United States District

Court for the Northern District of Illinois hereby orders, effective March 30, 2020:

                                      Court Remains Open

   1. This Court remains open and accessible, subject to the limitations and procedures set

       forth below.

                                            Civil Cases

   2. Amended General Order 20-0012 extended by 21 days all deadlines, in all civil cases

       and Executive Committee matters, whether set by the court, the Federal Rules of Civil

       Procedure, or the Local Rules. This Second Amended General Order extends all

       deadlines in civil cases and Executive Committee matters by an additional 28 days.

       These extensions were and continue to be subject to the following exceptions:

           a) Amended General Order 20-0012 did not affect, and this Second Amended

               General Order does not affect, the rights to or deadlines concerning any appeal

               from any decision of this Court in a civil case. That is, the deadlines for filing a

               notice of appeal in a civil case remain in place and must be followed to preserve

               appellate rights. The Court invites parties to move under Appellate Rule




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           4(a)(5)(A) for an extension of time to appeal. If a timely extension motion is filed,

           then the Court deems that good cause exists for the extension given the public

           health emergency. Parties should note that any extensions of the appeal

           deadlines in civil cases are subject to the limits imposed by Appellate Rule

           4(a)(5)(C), and that the Court cannot grant a second extension under Appellate

           Rule 4(a)(5).

       b) Amended General Order 20-0012 did not grant, and this Second Amended

           General Order does not grant, an extension of any deadlines imposed by Civil

           Rules 50(b) or (d), 52(b), 59(b), (d), or (e), or 60(b). See Fed. R. Civ. P. 6(b)(2).

       c) The presiding judge, on a case-by-case basis and for good cause, may extend,

           shorten, or revoke the 21-day extension granted by Amended General Order 20-

           0012 and/or the 28-day extension granted by this Second Amended General

           Order.

3. Civil case hearings, bench trials, and settlement conferences scheduled for on or before

   May 1, 2020 are stricken, to be re-set by the presiding judge to a date on or after May 4,

   2020. Civil jury trials scheduled for on or before May 29, 2020 are stricken, to be re-set

   by the presiding judge to a date on or after June 1, 2020.

                                     Criminal Cases

4. The Court recognizes and respects the right of criminal defendants, particularly those in

   pretrial detention, to a speedy and public trial under the Sixth Amendment. That said, the

   public health emergency requires that the following procedures be implemented in

   criminal cases:

        a) All criminal case proceedings, whether in the Eastern or Western Division, that

            cannot be continued will be conducted in the Eastern Division by emergency

            district judges designated by the Chief Judge.




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      b) Grand juries shall continue to meet, with reasonable limits on grand jury

          sessions imposed by the Court in consultation with the U.S. Attorney’s Office.

      c) Under Criminal Rule 4.1, a judge may review by reliable electronic means,

          rather than in person, a complaint, application for search warrant or

          trap/trace/pen register, application for wire tap, or application for any other

          warrant or order.

      d) Under Section 15002(b)(1) of the CARES Act, Pub. L. 116-136, 134 Stat. 281,

          the Chief Judge of this Court authorizes the use of videoconferencing, or

          teleconferencing if videoconferencing is not reasonably available, for the

          following proceedings, so long as the defendant gives written or verbal consent

          after consultation with counsel:

             i.   Detention hearings under 18 U.S.C. § 3142;

            ii.   Initial appearances under Criminal Rule 5;

           iii.   Preliminary hearings under Criminal Rule 5.1;

           iv.    Waivers of indictment under Criminal Rule 7(b);

            v.    Arraignments under Criminal Rule 10;

           vi.    Probation and supervised release revocation hearings under Criminal
                  Rule 32.1;

           vii.   Pretrial release revocation hearings under 18 U.S.C. § 3148;

          viii.   Appearances under Criminal Rule 40;

           ix.    Misdemeanor pleas and sentencings under Criminal Rule 43(b)(2); and

            x.    Juvenile proceedings under Title 18, Chapter 403, except for contested
                  transfer hearings, juvenile delinquency adjudication, or trial proceedings.

      e) A defendant who does not object to detention shall, before the scheduled

          detention hearing, notify the emergency judge orally (through counsel) or in

          writing that the defendant has no objection to detention. The decision to not




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           object is without prejudice to the defendant’s right to later challenge detention

           and seek pretrial release.

      f)   All supervised release revocation hearings scheduled for on or before May 1,

           2020 are continued and will be rescheduled by the presiding judge to a date on

           or after May 4, 2020, unless the defendant, defense counsel, the United States

           Probation Office, or the United States Attorney’s Office notifies the emergency

           judge that the hearing is necessary before May 4, 2020.

      g) All plea hearings and sentencing hearings scheduled to begin on or before May

           1, 2020 are continued and will be rescheduled by the presiding judge to a date

           on or after May 4, 2020, unless the defendant, defense counsel, or the United

           States Attorney’s Office notifies the emergency judge that circumstances justify

           holding the plea or sentencing hearing before May 4, 2020. If the parties agree

           to invoke Section 15002(b)(2)(A) of the CARES Act to conduct a felony plea

           hearing or felony sentencing hearing by videoconferencing or teleconferencing,

           they shall notify the emergency judge, who will consult with the Chief Judge and

           the presiding judge regarding the findings required by Section 15002(b)(2)(A).

           Felony plea hearings and felony sentencing hearings may be held remotely by

           teleconferencing only if videoconferencing is not reasonably available.

      h) The court finds that the period of any continuance entered from the date of this

           Second Amended General Order through May 18, 2020 as a result of this Order

           shall be excluded under the Speedy Trial Act, 18 U.S.C. §3161(h)(7)(A). The

           court finds that the ends of justice served by the exclusion of time outweigh the

           interests of the parties and the public in a speedy trial given the need to protect

           the health and safety of defendants, defense counsel, prosecutors, court staff,

           and the public by reducing the number of in-person hearings to the greatest

           extent possible. This period of exclusion extends for two weeks beyond the



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           suspension through May 1, 2020 of criminal hearings because each judge will

           require a reasonable time to review and to reset case schedules after May 1,

           2020.

      i)   Criminal jury trials scheduled for on or before May 29, 2020 are stricken, to be

           reset by the presiding judge to a date on or after June 1, 2020. This continuance

           is necessary because criminal jury trials require: (i) the gathering of a large

           number of persons in the Jury Department; (ii) at least 12 jurors seated in the

           courtroom to hear evidence; (iii) 12 jurors to deliberate in the jury room; and (iv)

           at least four weeks’ notice in advance of trial to summon jurors. Social-

           distancing guidelines render juror participation difficult or unsafe, and the current

           public health emergency renders it infeasible for the Clerk’s Office to accomplish

           the mailing of juror summons. For these same reasons, in cases impacted by

           this trial continuance, the Court excludes time under the Speedy Trial Act

           through June 1, 2020, because the ends of justice outweigh the interests of the

           parties and the public in a speedy trial.

      j)   All other criminal hearings, including bench trials, scheduled for on or before

           May 1, 2020 are stricken, to be re-set by the presiding judge to a date on or

           after May 4, 2020.

      k) The March 17, 2020 minute order entered in all criminal cases extended by 21

           days all deadlines, including motions, briefing, and discovery deadlines, whether

           set by the court, the Federal Rules of Criminal Procedure, or the Local Rules.

           This Second Amended General Order extends all deadlines in criminal cases by

           an additional 28 days. The presiding judge, on a case-by-case basis and for

           good cause, may extend, shorten, or revoke the 21-day extension granted by

           the March 17, 2020 minute order and/or the 28-day extension granted by this

           Second Amended General Order. The parties are cautioned that Amended



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           General Order 20-0012 and the March 17, 2020 minute order did not affect the

           rights or deadlines concerning any appeal from any decision of this Court,

           except as noted in the Amended General Order; nor did the March 17, 2020

           minute order or the Amended General Order affect any deadlines under

           Criminal Rule 35. See Fed. R. Crim. P. 45(b)(2). Likewise, except as noted in

           this Second Amended General Order, this Order does not affect the rights to or

           deadlines concerning any appeal from any decision of this Court or any action

           requested under Criminal Rule 35. Thus, the deadlines for filing a notice of

           appeal or seeking relief under Criminal Rule 35 remain in place and must be

           followed to preserve appellate rights. If the prior Amended General Order

           extended an appeal deadline, no further extensions are permitted. See Fed. R.

           App. 4(b)(4). For appeal deadlines that have arisen after March 17, 2020, on its

           own motion and pursuant to Appellate Rule 4(b)(4), and in light of the public

           health emergency, the Court (i) finds that good cause exists in every criminal

           case to extend the time to appeal for 30 days from the expiration of the time

           otherwise prescribed in Appellate Rule 4(b), and (ii) extends the appeal deadline

           in those criminal cases by 30 days.

                 Emergency Relief in Any Case or from this Order

5. Any party may seek emergency relief in any case or from this Second Amended General

   Order. In addition to filing the emergency motion in the case in which emergency relief is

   sought, the party must file the motion in Case No. 20-cv-01792, which is a docket

   created to receive emergency motions filed under this Second Amended General Order.

   The emergency motion must be filed (i) electronically via CM/ECF if possible or (ii) for

   non-e-filers, via email as outlined in Paragraph 11. If neither CM/ECF nor email is

   available to a party, then the party may deposit the emergency motion in a courthouse

   drop-box or mail the motion as provided in Paragraphs 7 or 8, but parties are warned



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   that mail is not being processed on a regular basis. The emergency motion will be

   considered as soon as practicable by the presiding judge, an emergency judge, or the

   Chief Judge.

6. For an emergency matter, as defined by Local Rule 77.2(a)(3), that arises during

   business hours (Monday through Friday 7:00 a.m. through 6:00 p.m.), the party shall

   send an e-mail message describing the emergency to

   Emergency_Judge@ilnd.uscourts.gov. The Clerk will monitor the mailbox and send a

   response. If an emergency matter arises outside of business hours, the party shall call

   (312) 702-8875, leave a message describing the emergency, and provide a return

   telephone number. The Clerk will return the call.

                           Clerk’s Office and Filing Options

7. The District Court Clerk’s Office in the Dirksen United States Courthouse in Chicago,

   Illinois, is closed to public entry through May 1, 2020. Filings in the Eastern Division may

   be: (1) electronically filed via CM/ECF; (2) deposited in the drop-box in the lobby of the

   Dirksen Courthouse during business hours; or (3) mailed to the U.S. District Court

   Clerk’s Office, 219 South Dearborn Street, 20th Floor, Chicago, IL 60604, although mail

   is not being processed on a regular basis. If a filing is mailed by a prisoner, the

   traditional “mail box” rule shall govern its filing date. Given the public health emergency

   and the current inability of the Clerk’s Office to process mail in the ordinary course, if a

   filing is mailed by a non-prisoner, the filing date shall be deemed to be the postmark

   date, subject to any party’s right to move that a different date be used. No in-person

   deliveries of any kind may be made to a judge’s chambers or to the Clerk’s Office.

8. The District Court Clerk’s Office in the Stanley J. Roszkowski United States Courthouse

   in Rockford, Illinois, is closed to public entry through May 1, 2020. Filings in the Western

   Division may be: (i) electronically filed via CM/ECF; (ii) deposited in the drop box located

   on the 2nd floor of the Roszkowski United States Courthouse during business hours; (iii)



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   mailed to U.S. District Court Clerk’s Office, 327 South Church Street, Rockford, IL

   61101, although mail is not being processed on a regular basis; or (iv) deposited in the

   drop box in the lobby of the Dirksen Courthouse during business hours. If a filing is

   mailed by a prisoner, the traditional “mail box” rule shall govern its filing date. Given the

   public health emergency and the current inability of the Clerk’s Office to process mail in

   the ordinary course, if a filing is mailed by a non-prisoner, the filing date shall be deemed

   to be the postmark date, subject to any party’s right to move that a different date be

   used. No in-person deliveries of any kind may be made to a judge’s chambers or to the

   Clerk’s Office.

                     Suspension of Local Rules 5.2(f) and 5.3(b)

9. The Court suspends Local Rule 5.2(f), which requires in many instances that paper

   courtesy copies of filings be delivered to the judge, through May 1, 2020. This means

   that no courtesy copies may be submitted for filings made through May 1, 2020.

10. Although parties may continue to file non-emergency motions, the Court suspends Local

   Rule 5.3(b), which otherwise requires that all motions be noticed for presentment, for all

   motions filed on or before May 1, 2020.

                         Email Filing Option for Pro Se Parties

11. The Court suspends through May 1, 2020 the prohibition against pro se parties emailing

   their filings to the Clerk’s Office. From now through Mary 1, 2020, the Court will accept

   filings from pro se litigants via email that comply with these requirements: (i) the filing

   must be in PDF format; (ii) the filing must be signed s/ [filer’s name] or bear a

   handwritten signature; (iii) the email must be sent to Temporary_E-

   Filing@ilnd.uscourts.gov; (iv) the email must state the party’s name, address, and phone

   number; (v) for existing cases, the email’s subject line must read: “Pro Se Filing [Insert

   Your Case Number]”, and for new cases, the email’s subject line must read: “Pro Se




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   Filing in New Case”. E-mails that do not comply with these requirements will not be

   reviewed and will not be considered a proper filing.

                            Suspension of Public Gatherings

12. All public gatherings are suspended through May 8, 2020 at both the Everett McKinley

   Dirksen U.S. Courthouse in Chicago and the Stanley J. Roszkowski U.S. Courthouse in

   Rockford. This includes, but is not limited to, group tours and visits, moot courts and

   mock trials, bar group meetings, seminars, and naturalization ceremonies. Also

   suspended are Second Chance reentry court proceedings, SOAR Court, Veterans

   Treatment court proceedings, and Petty Offense (CVB) proceedings. Notwithstanding

   this suspension, court proceedings allowed by another provision of this Order may take

   place.

                                   Additional Provisions

13. This Second Amended General Order does not affect the authority of judges to enter

   orders in any civil or criminal cases.

14. The Court will vacate, amend, or extend this Second Amended General Order no later

   than April 24, 2020.

15. The Clerk of Court shall distribute this Second Amended General Order: by electronic

   service on all registered CM/ECF users; by electronically posting the Order on the

   Court’s public website; by making printed copies available at the entrances of the

   Dirksen and Roszkowski Courthouses. In addition, the Clerk of Court shall send a copy

   of this Order, either electronically or by mail, to the Illinois Department of Corrections

   (IDOC), all IDOC prison or detention facilities, the Illinois Department of Human Services

   Division of Mental Health Treatment and Detention Facility, and all county jails in this

   District; the warden, sheriff, or director of each prison, jail, or detention facility is directed

   to use reasonable means to notify persons incarcerated or detained therein of this Order

   and to allow access to this Order. In addition, the Clerk of Court shall docket this Order



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    in each open civil and criminal case. Printed copies will not be mailed to non-CM/ECF

    users due to the heavy burden such mailings would place on the Clerk’s Office.

                                  ENTER:

                                  FOR THE COURT



                                                     Chief Judge

Dated at Chicago, Illinois this 30th day of March, 2020




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